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 5 Email: wcw@nevadaada.com
 6 Attorney for Plaintiff
 7                      IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
 8
      Kevin Zimmerman, an individual,
 9                                                Civil Action No: 17-cv-01427-GMN-GWF
10                         Plaintiff,
      v.
11                                                NOTICE OF VOLUNTARY DISMISSAL
      Circle K Stores, Inc.,
12    d.b.a. Circle K Store #3361,                             WITH PREJUDICE

13
                           Defendant.
14
15                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

16          PLEASE TAKE NOTICE, that pursuant to Federal Rule of Civil Procedure 41

17 (a)(1)(A)(i), Plaintiff, Kevin Zimmerman, hereby voluntarily dismisses this Action with
18 prejudice.
19          RESPECTFULLY submitted on this 3rd day of October, 2017.
20
21                                                     /s/ Whitney C. Wilcher
                                                       Whitney C. Wilcher, Esq.
22                                                     THE WILCHER FIRM
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          Case 2:17-cv-01427-GMN-GWF Document 8 Filed 10/03/17 Page 2 of 2



 1
 2                              CERTIFICATE OF SERVICE
 3
          I hereby certify that on this 3rd day of October 2017, I electronically transmitted
 4 the foregoing document to the Clerk’s Office using the CM/ECF System for filing and
   e-mailed the foregoing to:
 5
 6
 7    Brian L. Bradford
      OGLETREE DEAKINS NASH SMOAK & STEWART, P.C.
 8    3800 Howard Hughes Pkwy., Ste 1500
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